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                                       FORM 8
                   PROTECTIVE ORDER IN PROCUREMENT PROTEST CASES


                     United States Court of Federal Claims

                                                       )
                                                       )
  Space Exploration Technologies Corp.
 _____________________________,                        )
                                                       )          19-742
                                                            No. _________        C
                             Plaintiff,                )
                                                       )    Judge___________________
              v.                                       )
                                                       )
 THE UNITED STATES,                                    )
                                                       )
                             Defendant.                )

                                    _____________________________

                                        PROTECTIVE ORDER
                                    _____________________________

      The court finds that certain information likely to be disclosed orally or in writing during the course of
this litigation may be competition-sensitive or otherwise protectable and that entry of a Protective Order is
necessary to safeguard the confidentiality of that information. Accordingly, the parties shall comply with
the terms and conditions of this Protective Order.


                                                      I.

1.   Protected Information Defined. “Protected information” as used in this order means information that
     must be protected to safeguard the competitive process, including source selection information,
     proprietary information, and confidential information contained in:
         (a) any document (e.g., a pleading, motion, brief, notice, or discovery request or response)
              produced, filed, or served by a party to this litigation; or
         (b) any deposition, sealed testimony or argument, declaration, or affidavit taken or provided
              during this litigation.

2.   Restrictions on the Use of Protected Information. Protected information may be used solely for the
     purposes of this litigation and may not be given, shown, made available, discussed, or otherwise
     conveyed in any form except as provided herein or as otherwise required by federal statutory law.




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                                                       II.

3.   Individuals Permitted Access to Protected Information. Except as provided in paragraphs 7 and 8
     below, the only individuals who may be given access to protected information are counsel for a party
     and independent consultants and experts assisting such counsel in connection with this litigation.

4.   Applying for Access to Protected Information. An individual seeking access to protected information
     pursuant to Appendix C, Section VI of this court’s rules must read this Protective Order; must complete
     the appropriate application form (Form 9—“Application for Access to Information Under Protective
     Order by Outside or Inside Counsel,” or Form 10—“Application for Access to Information Under
     Protective Order by Expert Consultant or Witness”); and must file the executed application with the
     court.

5.   Objecting to an Application for Admission. Any objection to an application for access must be filed
     with the court within two (2) business days of the objecting party’s receipt of the application.

6.   Receiving Access to Protected Information. If no objections have been filed by the close of the second
     business day after the other parties have received the application, the applicant will be granted access
     to protected information without further action by the court. If any party files an objection to an
     application, access will only be granted by court order.

7.   Access to Protected Information by Court, Department of Justice, and Agency Personnel. Personnel
     of the court, the procuring agency, and the Department of Justice are automatically subject to the terms
     of this Protective Order and are entitled to access to protected information without further action.

8.   Access to Protected Information by Support Personnel. Paralegal, clerical, and administrative support
     personnel assisting any counsel who has been admitted under this Protective Order may be given access
     to protected information by such counsel if those personnel have first been informed by counsel of the
     obligations imposed by this Protective Order.


                                                      III.

9.   Identifying Protected Information. Protected information may be provided only to the court and to
     individuals admitted under this Protective Order and must be identified as follows:
         (a) if provided in electronic form, the subject line of the electronic transmission shall read
               “CONTAINS PROTECTED INFORMATION”; or
         (b) if provided in paper form, the document must be sealed in a parcel containing the legend
               “PROTECTED INFORMATION ENCLOSED” conspicuously marked on the outside.
     The first page of each document containing protected information, including courtesy copies for use
     by the judge, must contain a banner stating “Protected Information to Be Disclosed Only in
     Accordance With the U.S. Court of Federal Claims Protective Order” and the portions of any
     document containing protected information must be clearly identified.

10. Filing Protected Information. Pursuant to this order, a document containing protected information may
    be filed electronically under the court’s electronic case filing system using the appropriate activity listed


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     in the “SEALED” documents menu. If filed in paper form, a document containing protected
     information must be sealed in the manner prescribed in paragraph 9(b) and must include as an
     attachment to the front of the parcel a copy of the certificate of service identifying the document being
     filed.

11. Protecting Documents Not Previously Sealed. If a party determines that a previously produced or filed
    document contains protected information, the party may give notice in writing to the court and the other
    parties that the document is to be treated as protected, and thereafter the designated document must be
    treated in accordance with this Protective Order.


                                                     IV.

12. Redacting Protected Documents For the Public Record.
       (a) Initial Redactions. After filing a document containing protected information in accordance
            with paragraph 10, or after later sealing a document pursuant to paragraph 11, a party must
            promptly serve on the other parties a proposed redacted version marked “Proposed Redacted
            Version” in the upper right-hand corner of the first page with the claimed protected
            information deleted.
       (b) Additional Redactions. If a party seeks to include additional redactions, it must advise the
            filing party of its proposed redactions within two (2) business days after receipt of the
            proposed redacted version, or such other time as agreed upon by the parties. The filing party
            must then provide the other parties with a second redacted version of the document clearly
            marked “Agreed-Upon Redacted Version” in the upper right-hand corner of the page with
            the additional information deleted.
       (c) Final Version. At the expiration of the period noted in (b) above, or after an agreement
            between the parties has been reached regarding additional redactions, the filing party must file
            with the court the final redacted version of the document clearly marked “Redacted Version”
            in the upper right-hand corner of the first page. This document will be available to the public.
       (d) Objecting to Redactions. Any party at any time may object to another party’s designation of
            certain information as protected. If the parties are unable to reach an agreement regarding
            redactions, the objecting party may submit the matter to the court for resolution. Until the
            court resolves the matter, the disputed information must be treated as protected.


                                                     V.

13. Copying Protected Information. No party, other than the United States, may for its own use make more
    than three (3) copies of a protected document received from another party, except with the consent of
    all other parties. A party may make additional copies of such documents, however, for filing with the
    court, service on the parties, or use in discovery and may also incorporate limited amounts of protected
    information into its own documents or pleadings. All copies of such documents must be clearly labeled
    in the manner required by paragraph 9.

14. Waiving Protection of Information. A party may at any time waive the protection of this order with
    respect to any information it has designated as protected by advising the court and the other parties in


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     writing and identifying with specificity the information to which this Protective Order will no longer
     apply.

15. Safeguarding Protected Information. Any individual admitted under this Protective Order must take
    all necessary precautions to prevent disclosure of protected information, including but not limited to
    physically securing, safeguarding, and restricting access to the protected information.

16. Breach of the Protective Order. If a party discovers any breach of any provision of this Protective
    Order, the party must promptly report the breach to the other parties and immediately take appropriate
    action to cure the violation and retrieve any protected information that may have been disclosed to
    individuals not admitted under this Protective Order. The parties must reasonably cooperate in
    determining the reasons for any such breach.

17. Seeking Relief From the Protective Order. Nothing contained in this order shall preclude a party from
    seeking relief from this Protective Order through the filing of an appropriate motion with the court
    setting forth the basis for the relief sought.


                                                    VI.

18. Maintaining Filed Documents Under Seal. The court will maintain properly marked protected
    documents under seal throughout this litigation.

19. Retaining Protected Information After the Termination of Litigation. Upon conclusion of this action
    (including any appeals and remands), the original version of the administrative record and any other
    materials that have been filed with the court under seal will be retained by the court pursuant to RCFC
    77.3(c). Copies of such materials may be returned by the court to the filing parties for disposition in
    accordance with paragraph 20 of this Protective Order.

20. Disposing of Protected Information. Within thirty (30) days after the conclusion of this action
    (including any appeals and remands), each party must destroy all protected information received
    pursuant to this litigation and certify in writing to each other party that such destruction has occurred
    or must return the protected information to the parties from which the information was received. With
    respect to protected electronically stored information (ESI) stored on counsel’s computer network(s),
    destruction of such ESI for purposes of compliance with this paragraph shall be complete when counsel
    takes reasonable steps to delete all such ESI from the active email system (such as, but not limited to,
    the “Inbox,” “Sent Items,” and “Deleted Items” folders) of admitted counsel and of any personnel who
    received or sent emails with protected information while working under the direction and supervision
    of such counsel, and by deleting any protected ESI from databases under counsel’s control. Compliance
    with this paragraph does not require counsel to search for and remove ESI from any computer network
    back-up tapes, disaster recovery systems, or archival systems. Each party may retain one copy of such
    documents, except when the retention of additional copies is required by federal law or regulation,
    provided those documents are properly marked and secured.




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IT IS SO ORDERED.


                                   _____________________________
                                   Judge




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